     Case 3:21-cr-02627-CAB Document 21-1 Filed 01/31/22 PageID.65 Page 1 of 1




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 7
 8                             UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10
11
      UNITED STATES OF AMERICA,                   Case No. 21-CR-2627-CAB
12
                  Plaintiff,                      [PROPOSED] ORDER
13                                                CONTINUING STATUS
            v.                                    HEARING
14
      MATTHEW TAYLOR COLEMAN,
15
                  Defendant.
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17
            GOOD CAUSE HAVING BEEN SHOWN, IT IS ORDERED that the joint
18
      motion is granted. The status hearing shall be continued to _________________
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      DATED:                           By
22                                          HON. CATHY ANN BENCIVENGO
23                                          United States District Judge

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